     Case 1:24-cv-00219-JLT-SAB Document 17 Filed 06/28/24 Page 1 of 1


 1                                     UNITED STATES DISTRICT COURT

 2                                EASTERN DISTRICT OF CALIFORNIA

 3

 4    ROMUULO NAVA, JR.,                                 No. 1:24-cv-00219-SAB (PC)
 5                        Plaintiff,                     ORDER DISCHARING ORDER TO SHOW
                                                         CAUSE
 6             v.
                                                         (ECF No. 14)
 7    NEGRE,
 8                        Defendant.
 9

10            Plaintiff is proceeding pro se and in forma pauperis in this action filed pursuant to 42
11   U.S.C. § 1983.
12            On May 1, 2024, the Court screened Plaintiff’s first complaint, found no cognizable
13   claims, and granted Plaintiff thirty days to file an amended complaint. (ECF No. 13.) Plaintiff
14   failed to file a second amended complaint or otherwise respond to the Court’s order. Therefore,
15   on June 10, 2024, the Court ordered Plaintiff to show cause why the action should not be
16   dismissed. (ECF No. 14.)
17            On June 27, 2024, Plaintiff filed a second amended complaint. (ECF No. 15.) Inasmuch
18   as Plaintiff has now filed a second amended complaint, albeit untimely, the Court will discharge
19   the order to show cause issued on June 10, 2024 and screen the second amended complaint in due
20   course. However, Plaintiff is advised that he must comply with all orders in a timely manner or
21   the action will be dismissed. Local Rule 110.
22
     IT IS SO ORDERED.
23

24   Dated:     June 28, 2024
                                                         UNITED STATES MAGISTRATE JUDGE
25

26
27

28
                                                         1
